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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


   TIMOTHY KING, et al.,

                         Plaintiffs,            CIVIL ACTION

           v.                                   No. 2:20-cv-13134-LVP-RSW

   GRETCHEN WHITMER, in her official            Hon. Linda V. Parker
   capacity as Governor of the State of
   Michigan, et al.,

                         Defendants.




                                       APPEARANCE


      Notice is hereby given that Julie M. Houk of Lawyers Committee for Civil Rights

Under Law, enters her appearance in this matter for Amicus Curiae Michigan State

Conference NAACP, for purposes of receiving papers filed with the Court, notices and

orders from the Court.

 Dated: December 9, 2020                    Respectfully submitted,

                                            By: /s/ Julie M. Houk________________
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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2020, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will automatically send
notification of such filing to all attorneys of record registered for electronic filing.

                                                      __/s/ Julie M. Houk_______
